Case: 2:22-cv-03423-SDM-CMV Doc #: 1-1 Filed: 09/14/22 Page: 1 of 8 PAGEID #: 6




                                                                      EXHIBIT A
Case: 2:22-cv-03423-SDM-CMV Doc #: 1-1 Filed: 09/14/22 Page: 2 of 8 PAGEID #: 7




                                                                      EXHIBIT A
Case: 2:22-cv-03423-SDM-CMV Doc #: 1-1 Filed: 09/14/22 Page: 3 of 8 PAGEID #: 8




                                                                      EXHIBIT A
Case: 2:22-cv-03423-SDM-CMV Doc #: 1-1 Filed: 09/14/22 Page: 4 of 8 PAGEID #: 9




                                                                      EXHIBIT A
Case: 2:22-cv-03423-SDM-CMV Doc #: 1-1 Filed: 09/14/22 Page: 5 of 8 PAGEID #: 10




                                                                       EXHIBIT A
Case: 2:22-cv-03423-SDM-CMV Doc #: 1-1 Filed: 09/14/22 Page: 6 of 8 PAGEID #: 11




                                                                       EXHIBIT A
Case: 2:22-cv-03423-SDM-CMV Doc #: 1-1 Filed: 09/14/22 Page: 7 of 8 PAGEID #: 12




                                                                       EXHIBIT A
Case: 2:22-cv-03423-SDM-CMV Doc #: 1-1 Filed: 09/14/22 Page: 8 of 8 PAGEID #: 13




                                                                       EXHIBIT A
